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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


 COREY MARC RAYMOND,                      )
                                          )
                         PLAINTIFF        )
                                          )
 V.                                       )       CIVIL NO. 1:19-CV-529-DBH
                                          )
 WILLIAM GRANT,                           )
                                          )
                         DEFENDANT        )


                            ORDER OF DISMISSAL


      In accordance with Maine Local Rule 41(b), this action is DISMISSED for the

plaintiff’s failure to respond to the court’s Order to Show Cause dated January 2,

2020. That Order warned him that if he failed to respond by January 16, 2020,

his case could be dismissed for lack of prosecution.

      SO ORDERED.

      DATED THIS 27TH DAY OF JANUARY, 2020

                                              /S/D. BROCK HORNBY
                                              D. BROCK HORNBY
                                              UNITED STATES DISTRICT JUDGE
